                        IN THE UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF MISSOURI
                                      WESTERN DIVISION


UNITED STATES OF AMERICA,                        )
                                                 )
                                                 )
         Plaintiff,                              )
                                                 )
         v.                                      )             Criminal Action No.
                                                 )             12-00379-01-CR-W-HFS
JOSE LUIS RAMIREZ,                               )
                                                 )
         Defendant.                              )


                                               ORDER

         Defendant seeks suppression of wiretap results (Doc. 212) based on incorrect
documentation of approval of the applications. In both instances complained of the District Court
order fails to specify the official who approved the wiretaps.       The application forms, however,
submitted to the judge did contain signed and identified authorization from appropriate officials of the
Department of Justice.
         Having reviewed the record and the report and recommendation (Doc. 263) I will adopt the
report and recommendation and deny the motion to suppress, for reasons stated by the Magistrate
Judge.
         Although a statutory requirement of specifying the official in the order was not followed, the
violation was not fatal, but was merely a technical violation, as determined by the appellate courts.
The closest authority cited by Judge Maughmer, United States v. Radcliff, 331 F.3d 1153 (10th Cir.
2003) and United States v. Fudge, 325 F.3d 910 (7th Cir 2003), is not dealt with in defendant’s
objections (Doc. 274). No contrary authority has been found. Essentially defendant argues that any
slight departure from the procedures required by statute is fatal to wiretap authorization.         The
contention has been ruled unsound by the appellate courts.
         The motion to suppress (Doc. 212) is therefore DENIED.




                                                               ___/s/ Howard F. Sachs_____
                                                               Howard F. Sachs
                                                               United States District Court Judge
February _18__, 2015
Kansas City, Missouri




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